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                                   1                      IN THE UNITED STATES DISTRICT COURT

                                   2                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   4    KIARA ROBLES,                            Case No. 17-cv-04864-CW
                                   5                  Plaintiff,
                                                                                 ORDER GRANTING DEFENDANT RAHA
                                   6             v.                              MIRABDAL’S MOTION TO DISMISS
                                                                                 AND SETTING INITIAL CASE
                                   7    IN THE NAME OF HUMANITY, WE              MANAGEMENT CONFERENCE
                                        REFUSE TO ACCEPT A FASCIST
                                   8    AMERICA, et al.,
                                                                                 (Docket No. 96)
                                   9                  Defendants.
  United States District Court
Northern District of California




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                                  11         On October 5, 2018, Plaintiff Kiara Robles filed her Second
                                  12   Amended Complaint against Defendants Raha Mirabdal and Ian Dabney
                                  13   Miller.    Docket No. 93.    On October 18, 2018, Defendant Mirabdal
                                  14   filed her Motion to Dismiss Second Amended Complaint.             Docket No.
                                  15   96.   Pursuant to Civil Local Rule 7-3, Plaintiff’s response was
                                  16   due on November 1, 2018, but Plaintiff never responded.            The
                                  17   Court gave Plaintiff another opportunity to respond, warning
                                  18   Plaintiff that failure to respond may result in dismissal of
                                  19   Plaintiff’s claims against Defendant Mirabdal.         Docket No. 100.
                                  20   Despite this warning, Plaintiff has failed to respond by the
                                  21   ordered deadline.
                                  22         Thus, the Court hereby GRANTS Defendant Mirabdal’s Motion to
                                  23   Dismiss without prejudice because Plaintiff has failed to
                                  24   prosecute her case against Defendant Mirabdal.         Ferdik v.
                                  25   Bonzelet, 963 F.2d 1258, 1260 (9th Cir. 1992); see also Calip v.
                                  26   Soc. Sec. Admin., 14-cv-2047-JD, 2014 WL 3421147, at *2 (N.D.
                                  27   Cal. July 14, 2014).
                                  28         As to the remaining parties in the case (Plaintiff Robles
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                                   1   and Defendant Dabney), the initial case management conference

                                   2   will be held on January 15, 2019.        The parties must file a joint

                                   3   case management statement by January 8, 2019.         Failure by

                                   4   Plaintiff to comply may result in dismissal of Plaintiff’s

                                   5   remaining claims against Defendant Dabney, and dismissal of the

                                   6   case in its entirety.

                                   7        IT IS SO ORDERED.

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                                   9   Dated: December 4, 2018
                                                                                CLAUDIA WILKEN
  United States District Court
Northern District of California




                                  10                                            United States District Judge
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